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                   About Us




www.cosmx.com/html/en/html/about/about/                                                                                                                            1/6
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                          Introduction

                              COSMX was established in 2007 and headquartered in Zhuhai. It
                              has three production bases in Zhuhai, Chongqing, Zhejiang and
                              has established a factory in India. COSMX is one of worldwide
                              major suppliers of consumer polymer soft pouch lithium-ion
                              batteries, and has long served world's well-known customers in
                              the field of notebook computers, tablet computers, smart
                              phones, smart wearables, power tools, drones and others.
                              In the field of power batteries, Zhuhai COSMX have become
                              qualified suppliers for many automotive manufacturers after                                                                           
                              years of accumulation. At present, COSMX has entered the
                              fields of high-end electric motorcycles, automotive start-up
                              batteries, energy storage, passenger vehicle BEV and high-
                              voltage energy storage.
                              At the same time, the company has a group of talented
                              individuals in professional and technical fields of
                              electrochemistry, materials science, physical chemistry,
                                                                                                                                 COSMX ——Provide reliable energy solutions
                              machinery and automation, computing and information systems.
                              It has accumulated a wealth of technical achievements and won
                              many national and provincial honorary awards.




                                  1998：R&D of            2007: Factory                 2019:
                                  Li-ion battery           in Zhuhai                 Renamed to
                                      started              established                 COSMX




                          Company Honors
www.cosmx.com/html/en/html/about/about/                                                                                                                                                    2/6
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                          COSMX has successively won the honors of "Postdoctoral Research Workstation," "National High-Tech Enterprise," "National Enterprise
                                        About
                          Technology Center,"   Us   EV &Doctoral
                                              "Guangdong  ESS     Consumer Application
                                                                  Workstation," "GuangdongRD & Innovation
                                                                                           Polymer Lithium IonNews Center
                                                                                                               Battery        Join Us
                                                                                                                       Engineering      Service
                                                                                                                                   Technology   & SupportCenter,"
                                                                                                                                              Research
                                                                                                                                                                           EN   CN
                          "President Unit of Zhuhai Intelligent Manufacturing Association," "Zhuhai Key Enterprise for Intellectual Property Protection," and "Caring
                          Contribution Award." In March 2019, Zhuhai Coslight was renamed COSMX.




                          Milestone



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                                                                                   2007
                                                                                    Factory in Zhuhai established




                                                                                                                                                                                 



                                1998                                                                                                   2010
                                R&D of Li-ion battery started                                                                          Top-one Laptop battery supplier




                          Standard Certification
                          Product Certification             System Certification


                          Battery products can be certified in different markets around the world according to customers' needs.




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     COSMX Culture            CELL             Laptop Battery                 Platform & Product Development            Corporate Bulletin      Social Recruitment              Download Center

     Social Responsibility                     Mini Battery                   Test Center

     Contact Us                                Other Batteries                MRD


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                                                                                                                                                                                    Headquarter Telephone

                                                                                                                                                                                     0756-6321999

                                                                                                                                                                                            Service Hours

                                                                                                                                                                                                7*24 hours




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